

Matter of Cullen C. (Thomas C.) (2019 NY Slip Op 09203)





Matter of Cullen C. (Thomas C.)


2019 NY Slip Op 09203


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, CURRAN, WINSLOW, AND BANNISTER, JJ.


1234.4 CAF 18-00911

[*1]IN THE MATTER OF CULLEN C. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; THOMAS C., RESPONDENT-APPELLANT. (APPEAL NO. 4.) 






ROSEMARIE RICHARDS, GILBERTSVILLE, FOR RESPONDENT-APPELLANT.
DONALD S. THOMSON, BATH, FOR PETITIONER-RESPONDENT.
PAUL B. WATKINS, FAIRPORT, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Steuben County (Peter C. Bradstreet, J.), entered April 23, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order freed the subject child for adoption. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Charlie C. (Thomas C.) ([appeal No. 1] — AD3d — [Dec. 20, 2019] [4th Dept 2019]).
Entered: December 20, 2019
Mark W. Bennett
Clerk of the Court








